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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                           Criminal No. 10-339 (PJS/JJK)

                        Plaintiff,

v.                                                                      Order

GIESY SANCHEZ (3),

                        Defendant.


Jeffrey S. Paulsen, Esq., Assistant United States Attorney, counsel for Plaintiff.

Lee R. Wolfgram, Esq., The Wolfgram Law Firm, Ltd., counsel for Defendant Sanchez.


       The above matter comes before the Court upon the Report and Recommendation of

United States Magistrate Judge Jeffrey J. Keyes dated March 24, 2011. No objections have been

filed to that Report and Recommendation in the time period permitted. Based on the Report and

Recommendation of the Magistrate Judge, on all of the files, records, and proceedings herein, the

Court now makes and enters the following Order.

       IT IS HEREBY ORDERED that:

       1.      Defendant Giesy Sanchez’s Motion to Suppress Evidence Obtained by Seizure

(Doc. No. 112), is DENIED.



Date: April 11, 2011
                                                      s/Patrick J. Schiltz
                                                      Patrick J. Schiltz
                                                      United States District Judge
